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                            U N ITED STA TES DISTR IC T C O U R T
                            SO UTH ERN DISTRICT O F FLORIDA
                          CA SE NO.09-23154-ClV-SE1TZ/SIM ONTON

  SA ND R A RW K ER ,

                Plaintiff,


  CARNIVAL CORPORATION,etal.,

                Defendants.
                                       /

      ORDER GRANTIN G IN PART M OTION TO STRIKE ROBERT LESSNE AS AN
                             EX PER T W ITN E SS

         THIS M ATTER isbeforetheCourton DefendantRamanbhaiPatel'sM otion to Strike

   RobertLessneasan ExpertW itness,orintheAlternative,M otion in LiminetoExclude

   Evidence,Testimony,and CommentsatTrialRegardingFutureM edicalExpenses(DE-203).
   Dr.Lessne isPlaintiffsexpertin the fieldsofvocationalrehabilitation,employm ent,

   ergonom ics,and economics.A sPlaintiffsexpert,Dr.Lessneprepared alifecareplan for

   Plaintiff,in which hesetsoutthecostsofPlaintiffsfuturem edicalcare and needs.Patelseeks

   toexcludeRobertLessneasanexpertbecause(1)hefailedtoaccountforPlaintifpscancer
   diagnosisinhislifeexpectancycalculationsand(2)hisreportisnotsupportedbyrecord
   evidence and isentirely speculative.In the alternative,Patelseeksto excludeLessne from

   testifying aboutPlaintiffsfuturem edicalcareneedsand expenses.

          lntheEleventh Circuit,experttestimonyisadmissibleift$(1)theexpertisqualifiedto
   testifycompetentlyregardingthemattersheintendsto address;(2)themethodologybywhichthe
   expertreacheshisconclusionsissufficiently reliableasdetermined by the sortofinquiry

   mandatedinDaubert;and(3)thetestimonyassiststhetrieroffact,throughtheapplicationof
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  scientific,technical,orspecialized expertise,tounderstand theevidenceorto determ inea factin

  issue.''City ofTuscaloosav.HarcosChemicals,Inc.,158F.3d548,562(11thCir.1998)
  (footnoteomitted).Thepartyofferingtheexpertbearstheburdenoflayingtheproper
  foundationforadmission oftheexpert'stestimony.Hallv.UnitedInsuranceCo.ofAmerica,
  367F.3d 1255,1261(11thCir.2004).Furthermore,thepartyofferingtheexpertdihastheburden
   ofdemonstrating thatthe testim ony isçrelevantto thetask athand'and çlogically advancesa

   materialaspect'ofitscase.''BocaRaton Community Hospital,Inc.v.TenetHealth CareCorp.,

   582F.3d 1227,1232(11thCir.2009).Ifanexpertopiniondoesnothavet(aivalid scientifc
   colmection to thepertinentinquiry'itshould beexcluded becausethereisno çfit.'''1d. Thus,

   Plaintiffbearstheburden ofestablishing thatDr.Lessnemeetsal1ofthese requirementsin order

   to testify asan expert.
          Plaintiffhasnotdonethis.Dr.Lessne'sreportand hisdeposition testim ony indicatethat

   hisreportisbased on the life expectancy ofahealthy 62 yearold wom an.However,them edical

   evidence,aswellasDr.Lessne'sreport,indicatesthatPlaintiffisnotahealthy 62 yearold

   wom an;sheisa 62yearo1d woman with stagethreecolon cancer,thatwasdiagnosed in M arch

   2011.Thus,Dr.Lessne'sreportanditsconclusionslack ssfit''with thefactsofthiscase. Asa

   resultofthislack offit,when questioned athisdeposition,Dr.Lessnetestified thathisStnumbers

   wouldchange''ifhislifeexpectancyprojectionwaswrong.
          ln herresponse,Plaintiffarguesthatthereisno record evidencethatDr.Lessne'slife

   expectancyprojectionisflawedandthatDefendantshavenotproducedany evidencethat
   Plaintiff'scancerwilleffectherlifeexpectancy.However,theburden ison Plaintiffto show that

   herexpertm eetstherequirem entsofDaubertand FederalRule ofCivilProcedure702.Dr.
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  Lessnetestified thathedid nottakePlaintiffscancerinto accountwhen calculating herlife

  expectancyprojectionsbecausehewasnotinstructedtobyPlaintiffsattorneys,notbecauseit
  would haveno effecton thecalculations. Consequently,PlaintiffcnnnotestablishthatDr.

  Lessne'sconclusionsasto fm ttre medicalneedsarereliableorthatthey willassistthetrierof

  factbecausea1lofhiscalculationsand conclusionsarebased on thelife expectancyofa healthy

  wom an,which Plaintiffisnot.

         Furthermore,Dr.Lessne'slifecareplan includesvariousdoctors'appointments,various

  therapies,and an attendant/driverfor16 hoursperday fortherestofPlaintiff'slifeexpectancy.'

  However,nothing in thereportindicateswhereorhow Dr.Lessne developedthesenumbers.At

   hisdepositionsDr.Lessne admitted thathedid notspeak with Plaintiff'sdoctorsorPlaintiff. He

   alsoadmittedthata11oftheprojectedmedicalcareandfrequencyestimatesaresimplyhis
   opinion.Thus,there isno evidenceto supportmany ofDr.Lessne'sestim atesforfuturem edical

   careneedsand theircostsin Plaintiffslifecareplan.U nderD aubertv.M errellDow

   Pharmaceuticals,Inc.,509U.S.579,592-93(1993),theCourtmustassessthereasoningor
   methodologyunderlying the expert'stestimony. Here,Dr.Lessnehasnotprovided any

   reasoningormethodologytosupporthisfuturemedicalcareneedsprojectionsforPlaintiff.lt
   appearsthathisestimatesarenothingmorethanhisownipsedixit.SeeCookexrel,Estateof
   Tessierv.Sherffç
                  fMonroeCounty Fla.,402 F.3d 1092,10 (11th Cir.2005)(statingthata

          lspecitscally,thelifecareplanincludessevenfuturemedicalneeds:(1)medicalcarewith
   aneurologistsixtimeayearfortherestofPlaintiffslife;(2)medicalcarewith aphysiatristsix
   timesayearfortherestofherlife;(3)psychiatriccarefourtimesayearfortherestofherlife;
   (4)hospitalizationseverytenyearsfortherestofPlaintiff'slife;(5)physicalandoccupational
   therapytwiceamonth fortherestofherlife;(6)CNA attendantcare/driver16hoursadayfor
   therestofherlife;and(7)asleepchamber.Thelifecareplanprojectsthecostsofthesefuture
   medicalneedsto be $5,413,179.58,with apresentvalueof$4,390,502.87.
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  districtcourtmayexcludeexperttestimonywhenitsfactualbasisisnotadequatelyexplained).
  Consequently,Dr.Lessnemay nottestifyregarding Plaintiff sfuturemedicalcareneeds.

         Accordingly,itis
         ORDERED THAT DefendantRam anbhaiPatel'sM otion to StrikeRobertLessneasan

  Exptl'tW itness,orin the Alternative,M otion in LiminetoExcludeEvidenee,Testimony,and

   CommentsatTrialRegardingFutureM edicalExpenses(DE-203qisGRANTED inpartand

   D EN IED in part:
             The M otion in Lim ineto ExcludeEvidence,Testimony,and Com mentsatTrial

   RegardingFuture M edicalExpensesisGRANTED.

          2. The M otion is DEN IED in al1otherrespects.
                                                           G Fc
          DONE AND ORDERED in M iami, Florida,this           day ofJanuary,2012.

                                                   -         a



                                             PATRICIA A. EITZ
                                             UNITED STATES DISTRICT JUDGE

   cc:    Allcounselofrecord
